609 F.2d 433
    UNITED STATES of America, Plaintiff-Appellee,v.Ronald SANTORA, Earl Rardin, Maurice Eugene Lickteig,Theresa Sohn, Garth Jon Brian Upton, Roy Cohn,Mary Evans, and Walter P. Moore,Defendants-Appellants.
    Nos. 76-3440, 76-3446, 76-3485, 76-3521, 76-3525, 76-3567,76-3711 and 77-2626.
    United States Court of Appeals,Ninth Circuit.
    Nov. 26, 1979.
    ORDER
    
      1
      Before HUFSTEDLER and ANDERSON, Circuit Judges, and KING,* district judge.
    
    
      2
      The opinion heretofore filed, 9 Cir., 600 F.2d 1317, is amended by deleting the following language at page 2573, at the end of the first full paragraph in the right-hand column of the printed slip opinion (600 F.2d at 1322.):
    
    
      3
      "Since Cohn's conversations must be suppressed, his conviction must be reversed for insufficient evidence.  Because Cohn cannot be retried (Greene v. Massey (1978) 437 U.S. 19, 98 S.Ct. 2151, 57 L.Ed.2d 15), we need not reach the question whether his right to a speedy trial was violated."
    
    
      4
      Footnote 2 is inserted following the words "traffic with Paul Harmon" in the same paragraph.
    
    
      5
      The text of footnote 2 shall read as follows:
    
    
      6
      "We have examined Cohn's speedy trial claim and are satisfied it does not meet the four-part test laid down by the Supreme Court in Barker v. Wingo (1972) 407 U.S. 514, 530-33, 92 S.Ct. 2182, 33 L.Ed.2d 101."
    
    
      7
      The Government's petition for rehearing is denied.
    
    
      
        *
         Honorable Samuel P. King, Chief Judge, United States District Court, District of Hawaii, sitting by designation
      
    
    